 Case 2:15-cv-08248-FMO-MRW Document 53 Filed 11/09/16 Page 1 of 3 Page ID #:641



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7
                      UNITED STATES DISTRICT COURT
8
                     CENTRAL DISTRICT OF CALIFORNIA
9
     JONATHAN WEISBERG,                       ) Case No. 2:15-cv-08248-FMO-MRW
10
     individually and on behalf of all others )
11   similarly situated,                      ) JOINT NOTICE OF CLASS-WIDE
12                                            ) SETTLEMENT
     Plaintiff,                               )
13
                                              )
14          vs.                               )
                                              )
15
     HD SUPPLY, INC.,                         )
16                                            )
17
     Defendant.                               )

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                                  Notice of Settlement - 1
 Case 2:15-cv-08248-FMO-MRW Document 53 Filed 11/09/16 Page 2 of 3 Page ID #:642



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           NOW COMES PLAINTIFF AND DEFENDANT by and through their

3
     attorneys to respectfully notify this Honorable Court that this case has entered
4    into a class-wide settlement. Plaintiff requests that this Honorable Court vacate
5    all pending hearing dates and allow ninety (90) days with which to file a Motion
6    for Preliminary Approval, and other dispositive documentation. This Court shall
7    retain jurisdiction over this matter until fully resolved.
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9
                         Respectfully submitted this 8th day of November, 2016.
10
                                            By: s/Todd M. Friedman
11
                                               TODD M. FRIEDMAN
12                                             Law Offices of Todd M. Friedman, P.C.
13                                             Attorney for Plaintiffs
14
                                            By: s/ Alexander H Cote
15                                             Alexander H Cote
                                               Scheper Kim and Harris LLP
16
                                               Attorney for Defendant
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                                        Notice of Settlement - 2
 Case 2:15-cv-08248-FMO-MRW Document 53 Filed 11/09/16 Page 3 of 3 Page ID #:643



1    Filed electronically on this 8th day of November, 2016, with:
2
     United States District Court CM/ECF system
3

4    Notification sent electronically via the Court’s ECF system to:
5
     Honorable Fernando M. Olguin
6    United States District Court
7    Central District of California
8
     Amos Alexander Lowder
9    Scheper Kim and Harris LLP
10
     Alexander H Cote
11   Scheper Kim and Harris LLP
12
     This 8th day of November, 2016.
13

14   s/Todd M. Friedman
     Todd M. Friedman
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                                       Notice of Settlement - 3
